  Case: 3:19-cv-00020-GFVT Doc #: 1 Filed: 03/21/19 Page: 1 of 10 - Page ID#: 1



                                   ELECTRONICALLY FILED

                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                  FRANKFORT DIVISION

 ALTERRA AMERICA INSURANCE                             )
 COMPANY,                                              )
                                                       )
                Plaintiff,                             )
                                                       )
 v.                                                    )    C.A. No.
                                                       )
 KENTUCKY RETIREMENT SYSTEMS,                          )    COMPLAINT FOR
 BRENT ALDRIDGE, T.J. CARLSON,                         )    INTERPLEADER
 WILLIAM COOK, JENNIFER ELLIOTT,                       )
 THOMAS ELLIOTT, BOBBY D. HENSON,                      )
 VINCE LANG, TIMOTHY LONGMEYER,                        )
 RANDY OVERSTREET, DAVID PEDEN,                        )
 and WILLIAM A. THIELEN,                               )
                                                       )
                Defendants.                            )
                                                       )

                                       INTRODUCTION

       1.      Alterra America Insurance Company (“AAIC”) files this interpleader action

because it is subject to conflicting and competing demands for the remaining limit of a $5

million governmental fiduciary liability insurance policy (the “Policy”) that it issued to Kentucky

Retirement Systems (“KRS”).

       2.      In December 2017, certain trustees and officers of KRS, Brent Aldridge, T.J.

Carlson, William Cook, Jennifer Elliott, Thomas Elliott, Bobby D. Henson, Vince Lang,

Timothy Longmeyer, Randy Overstreet, David Peden, and William A. Thielen, were named as

defendants in a lawsuit captioned Jeffrey C. Mayberry, et al. v. KKR & Co., L.P., et al., CI-17-

1348 (Ky. Cir. Ct., Franklin Cnty.) (the “Mayberry Action”). Among other things, the Mayberry
     Case: 3:19-cv-00020-GFVT Doc #: 1 Filed: 03/21/19 Page: 2 of 10 - Page ID#: 2



Action alleges that these trustee and officer defendants breached fiduciary duties to KRS. KRS

is named as a nominal defendant.

           3.       To date, AAIC has advanced $1,573,354.44 in Claim Expenses under the

Policy.1 Payment of Claim Expenses erodes the Limit of Liability of the Policy, and therefore

only $3,426,645.56 of the Policy’s limit remains.

           4.       On information and belief, nine of the trustee and officer defendants (the “Settling

Defendants”) have an opportunity to settle the Mayberry Action for the remainder of the Policy

limit. The remaining two individuals (the “Non-Settling Defendants”) object to a settlement that

would exhaust the Policy, because the Policy would no longer fund their ongoing defense of the

Mayberry Action.

           5.       AAIC presently is subject to competing and conflicting claims to the remaining

Policy limit. To permit all interested parties to present their claims to the Policy in an orderly

manner, AAIC is prepared to and seeks leave to tender the remaining Policy limit to the Court

and requests that the Court enter an injunction relieving AAIC of further liability under the

Policy.

                                                       PARTIES

           6.       AAIC is an insurance company organized and incorporated under the laws of the

State of Delaware, with its principal place of business in the Commonwealth of Virginia.

Accordingly, AAIC is a citizen of Delaware and Virginia.

           7.       Brent Aldridge (“Aldridge”) is an individual who is a citizen of the

Commonwealth of Kentucky.

           8.       T.J. Carlson (“Carlson”) is an individual who is a citizen of the State of Texas.



1
    Terms in bold are defined terms in the Policy, a true and correct copy of which is attached as Exhibit 1.


                                                             2
  Case: 3:19-cv-00020-GFVT Doc #: 1 Filed: 03/21/19 Page: 3 of 10 - Page ID#: 3



        9.      William Cook (“Cook”) is an individual who is a citizen of the Commonwealth of

Kentucky.

        10.     Jennifer Elliott (“J. Elliott”) is an individual who is a citizen of the

Commonwealth of Kentucky.

        11.     Thomas Elliott (“T. Elliott”) is an individual who is a citizen of the

Commonwealth of Kentucky.

        12.     Bobby D. Henson (“Henson”) is an individual who is a citizen of the

Commonwealth of Kentucky.

        13.     Vince Lang (“Lang”) is an individual who is a citizen of the Commonwealth of

Kentucky.

        14.     Timothy Longmeyer (“Longmeyer”) is an individual who is a citizen of the

Commonwealth of Kentucky.

        15.     Randy Overstreet (“Overstreet”) is an individual who is a citizen of the

Commonwealth of Kentucky.

        16.     David Peden (“Peden”) is an individual who is a citizen of the State of Missouri.

        17.     William A. Thielen (“Thielen”) is an individual who is a citizen of the

Commonwealth of Kentucky.

        18.     Kentucky Retirement Systems (“KRS”) is deemed an agency, arm, and alter ego

of the Commonwealth of Kentucky. As such, KRS has no citizenship for purposes of federal

diversity jurisdiction.

                                  JURISDICTION AND VENUE

        19.     This Court has jurisdiction over this action under 28 U.S.C. § 1335 because there

are two or more adverse claimants of diverse citizenship who either demand the right to payment




                                                   3
  Case: 3:19-cv-00020-GFVT Doc #: 1 Filed: 03/21/19 Page: 4 of 10 - Page ID#: 4



of money in excess of $500.00 that is in the custody or possession of AAIC or otherwise demand

a benefit arising by virtue of the Policy.

       20.     This Court has personal jurisdiction over each defendant named herein under 28

U.S.C. §§ 1335 and 2361.

       21.     The action is ripe for adjudication because there are presently competing demands

for the remaining Policy limit that exceed that amount.

       22.     Venue is proper in this Court pursuant to 28 U.S.C. § 1397 because one or more

of the claimant-defendants resides in this district. Venue is also proper in this Court pursuant to

28 U.S.C. § 1391(b)(2) because a substantial part of the events giving rise to the claim occurred

in this Division, as the Mayberry Action is pending in this Division.

                                   FACTUAL BACKGROUND

The Policy

       23.     AAIC issued Governmental Fiduciary Liability Insurance Policy Number AGL

0008576 01 (the “Policy”) to KRS for the Policy Period of April 25, 2014 to April 25, 2015.

Policy, Declarations, Items 1-3.

       24.     The Policy has a $5 million Aggregate Limit of Liability, inclusive of Claim

Expenses. Id., Declarations, Item 4(a).

       25.     Subject to its complete terms and conditions, the Policy affords specified

coverage to Insureds for all Loss (including Claim Expenses) resulting from a Claim first made

during the Policy Period which results from a Wrongful Act. Id., Section I.A.

       26.     The Policy defines Loss, in relevant part, as “Claims Expenses and monetary

damages, judgments (including pre- and post-judgment interest, if any) or settlements which an

Insured is legally obligated to pay as a result of a Claim.” Id., Section II.N.




                                                 4
  Case: 3:19-cv-00020-GFVT Doc #: 1 Filed: 03/21/19 Page: 5 of 10 - Page ID#: 5



        27.     The Policy defines Claim Expenses as “reasonable and necessary costs, charges,

fees (including but not limited to attorneys’ and experts’ fees) and expenses incurred by or on

behalf of the Insureds in the investigation, adjustment, defense or appeal of a Claim, including

the premium for an appeal, attachment or similar bond pertaining to an appeal. Claim Expenses

will not include any regular or overtime wages, salaries, fees or benefits of, or overhead expenses

associated with or attributable to any Insured, or any director, officer, Trustee or employee of

any Insured” Id., Section II.E.

        28.     The Limit of Liability to pay damages or settlements will be reduced by and may

be exhausted by Claim Expenses. Id., Section III.C (“Claim Expenses incurred by counsel . . .

are part of and not in addition to the applicable Limit of Liability . . . and the payment by the

Insurer of such Claim Expenses will reduce, and may exhaust, the applicable Limit of Liability

under this policy.”).

        29.     The Policy provides that “[u]pon the exhaustion of the Limit of Liability

applicable to any Claim, the Insurer’s duty to defend such Claim will cease and, upon the

exhaustion of the Insurer’s maximum Aggregate Limit of Liability under this policy . . . the

Insurer will therefore have no duty or obligation to defend or to continue to defend any Claim.”

Id., Section III.B.1.

        30.     Therefore, when AAIC has paid $5 million under the Policy, it will have no

further obligation under the Policy to pay Claim Expenses or indemnify any Insured for any

judgment or settlement.

        31.     Aldridge, Carlson, Cook, J. Elliott, T. Elliott, Henson, Lang, Longmeyer,

Overstreet, Peden, Thielen, and KRS are Insureds under the Policy.




                                                  5
  Case: 3:19-cv-00020-GFVT Doc #: 1 Filed: 03/21/19 Page: 6 of 10 - Page ID#: 6



The City of Fort Wright Action

       32.     On June 2, 2014, KRS was named as a defendant in a lawsuit captioned City of

Fort Wright v. Board of Trustees of the Kentucky Retirement System, 14-CI-1085 (Ky. Cir. Ct.,

Kenton Cnty.) (the “City of Fort Wright Action”). The City of Fort Wright Action generally

alleges that the board of trustees for KRS breached its fiduciary duties by investing funds in

high-risk, low-return investments that were not permitted by Kentucky law or were otherwise

improper.

       33.     By letter dated November 10, 2014, AAIC acknowledged coverage subject to a

reservation of rights under the Policy for the City of Fort Wright Action for KRS.

The Mayberry Action

       34.     On December 18, 2017, the Mayberry Action was filed against Aldridge, Carlson,

Cook, J. Elliott, T. Elliott, Henson, Lang, Longmeyer, Overstreet, Peden, and Thielen. KRS is

named as a nominal defendant in the Mayberry Action. Among other things, the Mayberry

Action alleges that these defendants breached fiduciary duties by making unsuitable and

imprudent investments.

       35.     By letter dated March 23, 2018, AAIC acknowledged coverage subject to a

reservation of rights under the Policy for the Mayberry Action for Aldridge, Carlson, Cook, J.

Elliott, T. Elliott, Henson, Lang, Longmeyer, Overstreet, Peden, Thielen, and KRS. Specifically,

AAIC agreed to treat the Mayberry Action as a Claim first made during the Policy Period of the

Policy on the basis of its relation to the City of Fort Wright Action.

       36.     By letter dated October 4, 2018, subject to a reservation of rights, AAIC again

acknowledged coverage under the Policy for the Mayberry Action for Aldridge, Carlson, Cook,

J. Elliott, T. Elliott, Henson, Lang, Longmeyer, Overstreet, Peden, Thielen, and KRS.




                                                  6
  Case: 3:19-cv-00020-GFVT Doc #: 1 Filed: 03/21/19 Page: 7 of 10 - Page ID#: 7



The Competing and Conflicting Claims

       37.     There is presently a dispute about the proper distribution of the remaining Policy

proceeds.

       38.     The limit of the Policy has been eroded by payment of Claim Expenses for the

Mayberry Action. AAIC has paid $1,573,354.44 under the Policy, leaving $3,426,645.56 of the

Policy limit. Moreover, because the individual Insureds continue to incur defense costs and

submit defense invoices for the Mayberry Action, the effective limit of the Policy is less than

$3,426,645.56.

       39.     On information and belief, the plaintiffs in the Mayberry Action have offered to

settle their claims against the Settling Defendants in exchange for, among other terms and

conditions, the remainder of the Policy’s limit.

       40.     The Non-Settling Defendants have objected to the proposed settlement, because it

does not release all of the Insureds named as defendants in the Mayberry Action and because it

would preclude further advancement of the Non-Settling Defendants’ Claim Expenses under the

Policy. The Non-Settling Defendants have thus argued that AAIC should reject the settlement

and continue to advance their Claim Expenses.

       41.     Even if the Settling Defendants do not accept the present settlement demand,

upon information and belief, the Mayberry Action plaintiffs are likely to make future settlement

offers to some but not all of the individual Insureds that require exhaustion of the Policy. Thus,

even if the present settlement is not consummated, AAIC will continue to be subject to

competing, conflicting demands for the remaining Policy limit.

       42.     In addition, KRS is entitled to coverage for the Claim Expenses it incurs with

respect to both the Mayberry Action and the City of Fort Wright Action until the $5 million




                                                   7
  Case: 3:19-cv-00020-GFVT Doc #: 1 Filed: 03/21/19 Page: 8 of 10 - Page ID#: 8



Aggregate Limit of Liability under the Policy is exhausted by payments of Loss, including

Claim Expenses and settlements. While KRS is not currently submitting invoices for these

matters, it nonetheless maintains an interest in the Policy to seek reimbursement for and

advancement of its Claim Expenses in connection with these matters.

                                       INTERPLEADER

       43.     AAIC has named as defendants herein all persons or entities who are asserting

either a present entitlement to payments under the Policy or to any one or more benefits arising

by virtue of the Policy. Accordingly, all parties who currently assert entitlement to the Policy

will be before the Court upon service of this Complaint.

       44.     As set forth above, AAIC is subject to inconsistent obligations with respect to the

remaining $3,426,645.56 Limit of Liability under the Policy.

       45.     AAIC will seek leave of this Court to tender the Policy’s remaining

$3,426,645.56 Limit of Liability into the Court’s registry by deposit by the Clerk into an interest-

bearing account.

                        COUNT I—STATUTORY INTERPLEADER

       46.     AAIC incorporates by reference each of the allegations set forth above.

       47.     As set forth above, two or more adverse claimants of diverse citizenship are

claiming or may claim to be entitled to the proceeds of the Policy or to any one or more of the

benefits arising by virtue of the Policy, and AAIC seeks leave to tender the remaining Policy

proceeds with the registry of the Court for deposit by the Clerk in an interest-bearing account.

       48.     The claimants dispute among themselves their entitlement to use of the Policy

proceeds or to any one or more of the benefits arising by virtue of the Policy.




                                                 8
  Case: 3:19-cv-00020-GFVT Doc #: 1 Filed: 03/21/19 Page: 9 of 10 - Page ID#: 9



       49.     AAIC faces the threat of multiple, competing claims to the remainder of the

Policy’s $5 million maximum Aggregate Limit of Liability.

       50.     AAIC therefore asks the Court to resolve the competing claims to the remaining

Policy proceeds.

       51.     Under 28 U.S.C. § 1335, AAIC is entitled to be discharged from further liability

with respect to the proceeds of the Policy.

       52.     Under 28 U.S.C. § 2361, the Court should enjoin all claimants from instituting or

prosecuting any proceeding in any State or United States court affecting the Policy proceeds until

further order of this Court and discharge AAIC from further liability to any of the defendants

related to the Policy proceeds.

                                     RELIEF REQUESTED

       53.     Upon service of process of each defendant named herein, and upon its depositing

the remaining $3,426,645.56 Limit of Liability into the registry of this Court for deposit by the

Clerk into an interest-bearing account, AAIC respectfully requests that the Court enter judgment:

       (a) discharging AAIC from any further liability to any person or entity with respect to the

       proceeds of the Policy;

       (b) ordering the claimant-defendants to interplead their rights, if any, to such proceeds;

       (c) adjudicating the claimant-defendants’ respective rights and obligations with respect to

       the deposited stake;

       (d) enjoining any persons from instituting or prosecuting any action against AAIC in any

       court with respect to the proceeds of the Policy;

       (e) granting any other relief necessary to effectuate the purpose of interpleader; and

       (f) granting any other relief that may be proper.




                                                 9
 Case: 3:19-cv-00020-GFVT Doc #: 1 Filed: 03/21/19 Page: 10 of 10 - Page ID#: 10



                                                           Respectfully submitted,

March 21, 2019                                             By: /s/ Don A. Pisacano
                                                               Don. A. Pisacano
                                                               MILLER GRIFFIN & MARKS, PSC
                                                               Security Trust Building
                                                               271 W. Short Street, Suite 600
                                                               Lexington, Kentucky 40507
                                                               Tel. (859) 255-6676
                                                               pisacano@kentuckylaw.com


                                                                 Counsel for Alterra America Insurance
                                                                 Company


F:\Share\DAP\Alterra America v. KRS, et al\PLEADINGS\Complaint.docx




                                                              10
